                     IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-160

                                           No. 492A20

                                    Filed 17 December 2021

     ELIZABETH MCMILLAN and TIFFANY SCOTT

                    v.
     BLUE RIDGE COMPANIES, INC., BLUE RIDGE PROPERTY MANAGEMENT,
     LLC, BRC CROSS CREEK, LLC d/b/a LEGACY AT CROSS CREEK, and
     FAYETTEVILLE CROSS CREEK, LLC d/b/a LEGACY AT CROSS CREEK, INC.


             Appeal pursuant to N.C.G.S. § 7A-27(a)(4) from an order granting plaintiffs’

     motion for class certification entered on 11 June 2020 by Judge Rebecca Holt in the

     Superior Court in Cumberland County. Heard in the Supreme Court on 30 August

     2021.


             Milberg Coleman Bryson Phillips Grossman, PLLC, by Scott C. Harris and
             Patrick M. Wallace; and Edward H. Maginnis and Karl S. Gwaltney, for
             plaintiff-appellees.

             Cranfill Sumner, LLP, by Steven A. Bader and Richard T. Boyette, for
             defendant-appellant Blue Ridge Property Management, LLC.


             HUDSON, Justice.

¶1           In this case we consider whether the trial court erred by granting plaintiffs’

     motion to certify three classes for a class action lawsuit. Plaintiffs Elizabeth McMillan

     and Tiffany Scott are former tenants of residential apartments in Fayetteville, North

     Carolina, owned and managed by defendant Blue Ridge Property Management, LLC
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     (Blue Ridge). Plaintiffs brought a class action lawsuit against the defendants alleging

     violations of N.C.G.S. § 42-46 (North Carolina Residential Rental Agreements Act, or

     NCRRAA) and N.C.G.S. § 75-50 et seq. (North Carolina Debt Collection Act, or

     NCDCA). Specifically, they moved the trial court to certify three classes of certain

     fellow tenants: the “Collection Letter Class,” the “Eviction Fee Class,” and the

     “Complaint-Filing Fee Class.” On 11 June 2020, the trial court granted plaintiffs’

     motion to certify all three classes. On 10 July 2020, Blue Ridge appealed the class

     certification order directly to this Court under N.C.G.S. § 7A-27(a)(4). Because we

     conclude that the trial court did not abuse its discretion, we affirm and remand for

     further proceedings.

                         I.   Factual and Procedural Background

¶2          The NCRRAA, in relevant part, authorizes landlords to assess certain fees

     against defaulting tenants “only if . . . the landlord filed and served a complaint for

     summary ejectment and/or money owed, the tenant cured the default or claim, and

     the landlord dismissed the complaint prior to judgment.” N.C.G.S. § 42-46(e) (2021).

     The NCDCA, in relevant part, broadly prohibits debt collectors from engaging in

     certain unauthorized practices, such as “[f]alsely representing the character, extent,

     or amount of a debt against a consumer or of its status in any legal proceeding” or

     “[f]alsely representing that an existing obligation of the consumer may be increased

     by the addition of [certain] fees.” N.C.G.S. § 75-54(4), (6) (2021). Here, plaintiffs allege
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     that Blue Ridge violated these Acts by unduly threatening (via collection letter) and

     assessing eviction fees and complaint-filing fees against tenants behind on rent before

     summary ejection complaints had been filed and before summary ejectment

     proceedings were complete. The merits of these substantive allegations are not at

     issue here. “In determining the propriety of a class action, the question is not whether

     the plaintiff or plaintiffs have stated a cause of action or will prevail on the merits,

     but rather whether the requirements of Rule 23 are met.” Eisen v. Carlisle &amp;

     Jacquelin, 417 U.S. 156, 178 (1974) (cleaned up). The only question before the Court

     at this stage is whether the classes were properly certified, not whether the plaintiffs’

     claims will succeed. See id. at 177–78.

¶3         On 16 July 2018, plaintiffs filed a complaint as a putative class action against

     Blue Ridge and several related entities. Later, plaintiffs voluntarily dismissed the

     related entities from the suit pursuant to Rule 41(a)(1) of the North Carolina Rules

     of Civil Procedure. Initially, plaintiffs alleged six claims for relief: (1) violation of

     N.C.G.S. § 42-46 (NCRRAA) (on behalf of all classes); (2) violation of N.C.G.S. § 42-

     46 (NCRRAA) (on behalf of the Complaint-Filing Fee Class); (3) violation of N.C.G.S.

     § 75-50 et seq. (NCDCA) (on behalf of all classes); (4) violation of N.C.G.S. § 75-1.1 et

     seq. (North Carolina Unfair and Deceptive Trade Practices Act, or UDTPA) (on behalf

     of all classes); (5) a petition for an injunction pursuant to N.C.G.S. § 1-485 et seq. (on

     behalf of the Complaint-Filing Fee Class); and (6) petition for declaratory judgment
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     pursuant to N.C.G.S. § 1-253 (on behalf of all classes). On 26 November 2018, Blue

     Ridge filed its answer, denying liability.

¶4         On 8 March 2019, Chief Justice Beasley designated this matter as exceptional

     pursuant to Rule 2.1 of the General Rules of Practice for the Superior and District

     Courts, and assigned the matter to Judge Rebecca Holt.

¶5         On 15 May 2019, plaintiff Elizabeth McMillan filed a partial motion for

     judgment on the pleadings. On 20 May 2019, Blue Ridge filed a motion to dismiss

     plaintiffs’ suit pursuant to N.C. R. Civ. P. 12(b)(6). On 18 November 2019, the trial

     court denied in part and granted in part the motion. In part, the court ruled that the

     collection of eviction fees and complaint-filing fees violated the NCRRAA, but denied

     the motion as to Blue Ridge’s liability for sending collection letters under the NCDCA,

     leaving the matter to be tried. Also on 18 November 2019, the trial court denied in

     part and granted in part Blue Ridge’s motion to dismiss. Specifically, the court

     dismissed claims four and five (UDTPA violation on behalf of all classes and the

     petition for an injunction on behalf of the Complaint-Filing Fee Class) but left the

     remaining four claims intact.

¶6         On 5 December 2019, Blue Ridge filed a motion for partial summary judgment.

     On 6 December 2019, plaintiffs filed a motion for partial summary judgment. That

     same day, plaintiffs filed a motion for class certification. On 11 June 2020, the court

     denied in part and granted in part plaintiffs’ motion for partial summary judgment.
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     Specifically, the court ruled that Blue Ridge violated the NCRRAA and the NCDCA

     when it assessed eviction fees and complaint-filing fees against plaintiffs, and that

     the collection letters likewise violated the NCDCA. However, the court found that

     genuine issues of material fact remain as to whether the collection letters proximately

     caused actual injury to plaintiffs. Accordingly, the court denied plaintiffs’ motion for

     summary judgment on this issue.

                                 II.   Standard of Review

¶7         This Court reviews a trial court’s class certification order for abuse of

     discretion. Fisher v. Flue-Cured Tobacco Coop. Stabilization Corp., 369 N.C. 202, 209
     (2016). “[T]he test for abuse of discretion is whether a decision is manifestly

     unsupported by reason, or so arbitrary that it could not have been the result of a

     reasoned decision.” Frost v. Mazda Motor of Am., Inc., 353 N.C. 188, 199 (2000)

     (cleaned up). Within this general standard, when addressing a class certification

     order, this Court has recognized that conclusions of law are reviewed de novo, and

     findings of fact are considered binding if supported by competent evidence. Fisher,

     369 N.C. at 209.

                                       III.   Analysis

¶8         Rule 23 of the North Carolina Rules of Civil Procedure authorizes class action

     lawsuits. Specifically, Rule 23 establishes that “[i]f persons constituting a class are

     so numerous as to make it impracticable to bring them all before the court, such of
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       them, one or more, as will fairly insure the adequate representation of all may, on

       behalf of all, sue or be sued.” N.C.G.S. § 1A-1, Rule 23(a) (2019). “The party seeking

       to bring a class action under Rule 23(a) has the burden of showing that [certain]

       prerequisites to utilizing the class action procedure are present.” Crow v. Citicorp

       Acceptance Co., 319 N.C. 274, 282 (1987) (footnote omitted).

¶9           These prerequisites are well established. See, e.g., Faulkenbury v. Tchrs.’ &amp;

       State Emps.’ Ret. Sys., 345 N.C. 683, 697 (1997) (repeating the prerequisites for class

       certification established by Crow, 319 N.C. at 282–83); Beroth Oil Co. v. N.C. Dep’t of

       Transp., 367 N.C. 333, 336–37 (2014) (same); Fisher, 369 N.C. at 209 (same). As an

       initial matter, the class representatives must demonstrate the existence of a class.

       Crow, 319 N.C. at 277. “A proper class exists ‘when the named and unnamed

       members each have an interest in either the same issue of law or of fact, and that

       issue predominates over issues affecting only individual class members.’ ” Fisher, 369

       N.C. at 209 (quoting Crow, 319 N.C. at 280).

¶ 10         In addition to this threshold requirement, “the class representatives must

       show: (1) that they will fairly and adequately represent the interests of all members

       of the class; (2) that they have no conflict of interest with the class members; (3) that

       they have a genuine personal interest, not a mere technical interest, in the outcome

       of the case; (4) that they will adequately represent members outside the state; (5) that

       class members are so numerous that it is impractical to bring them all before the
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       court; and (6) that adequate notice is given to all class members.” Id. (cleaned up)

       (quoting Faulkenbury, 345 N.C. at 697).

¶ 11         Once a party seeking class certification meets these requirements, “it is left to

       the trial court’s discretion whether a class action is superior to other available

       methods for the adjudication of the controversy.” Id. (cleaned up).

                    Class actions should be permitted where they are likely to
                    serve useful purposes such as preventing a multiplicity of
                    suits or inconsistent results. The usefulness of the class
                    action device must be balanced, however, against
                    inefficiency or other drawbacks. . . . [T]he trial court has
                    broad discretion in this regard and is not limited to
                    consideration of matters expressly set forth in Rule 23 or
                    in [existing caselaw].

       Crow, 319 N.C. at 284. Accordingly, “the touchstone for appellate review of a Rule 23

       order . . . is to honor the ‘broad discretion’ allowed the trial court in all matters

       pertaining to class certification.” Frost, 353 N.C. at 198.

¶ 12         Here, the trial court defined three classes as follows:

                    The Collection Letter Class: All tenants of Blue Ridge’s
                    Apartments in North Carolina who (a) at any point within
                    the four (4) year period preceding the filing of Plaintiffs’
                    Complaint through June 25, 2018 (b) resided in one of the
                    apartments managed by Blue Ridge in North Carolina (c)
                    were sent the Second Collection Letter that (d) threatened
                    to charge Eviction Fees when such amounts could not be
                    claimed by Blue Ridge.

                    Eviction Fee Class: All tenants of Blue Ridge’s
                    Apartments in North Carolina who (a) at any point within
                    the four (4) year period preceding the filing of Plaintiffs’
                    Complaint through June 25, 2018 (b) resided in one of the
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                    apartments managed by Blue Ridge in North Carolina (c)
                    were charged and (d) actually paid Eviction Fees prior to a
                    North Carolina court awarding such Eviction Fees to Blue
                    Ridge.

                    The Complaint-Filing Fee Class: All tenants of Blue
                    Ridge’s Apartments in North Carolina who (a) at any point
                    within the four (4) year period preceding the filing of
                    Plaintiff’s Complaint through June 25, 2018 (b) resided in
                    one of the apartments managed by Blue Ridge in North
                    Carolina (c) were charged a Complaint-Filing Fee before a
                    complaint in summary ejectment was filed and served and
                    paid it.

¶ 13         In support of its order certifying these classes, the trial court made the

       following findings of fact:

                           11. Blue Ridge provides property management
                    services to owners of residential apartment complexes in
                    North Carolina. Blue Ridge’s property management
                    services include the implementation of its General
                    Collection Guidelines which require, among other things,
                    that its on-site employees “must treat everyone
                    consistently and that “[a]ll residents in the same situation
                    must be treated the same.”

                           12. On or after the 11th of the month, Blue Ridge
                    employees send tenants who are delinquent with their rent
                    a letter stating that continued nonpayment will result in
                    “legal action” and that “[i]f legal action is necessary, any
                    expenses we incur will be charged to your account” (Second
                    Collection Letter”). The “expenses identified in the Second
                    Collection Letter are the same as Eviction Fees.

                          13. According to a stipulation signed by the parties,
                    “Defendant Blue Ridge had a general policy to send
                    templated written communications to the tenant. These
                    written communications were known as the ‘Notice to pay
                    – 2nd Notice’ and ‘Notice to Pay – Final Notice.’ ” The
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                     stipulation also agreed that “the text of any Notice to Pay
                     – 2nd Notice . . . that were generated for particular tenants
                     is substantively similar . . .”

                            14. If a tenant remains delinquent, Blue Ridge
                     would start the eviction process. The eviction process
                     included a summary ejectment action being filed against
                     the delinquent tenant. Blue Ridge would also charge
                     Eviction Fees to a delinquent tenant’s ledger. In some, but
                     not all instances, Blue Ridge employees also charged
                     tenants with an additional Complaint-Filing Fee equaling
                     5% of the tenants’ monthly rent. At times, Blue Ridge
                     posted the Complaint-Filing Fee to a tenant’s ledger before
                     a summary ejectment complaint was filed and served.

                          15. Blue Ridge considers that tenants owe the
                     amounts set forth on their ledgers.

                            16. Plaintiffs McMillan and Scott were residents at
                     a Blue Ridge-managed property, Legacy at Cross Creek
                     Apartments in Fayetteville, North Carolina. Plaintiffs
                     McMillan and Scott received Second Collection Letters and
                     were charged with and paid Eviction Fees and Complaint-
                     Filing Fees.

¶ 14         Blue Ridge points to three alleged errors in the trial court’s class certification

       order: (1) error in certifying the Collection Letter Class; (2) error in certifying the

       Eviction Fee Class and the Complaint-Filing Fee Class; and (3) error in the

       superiority determination. For the foregoing reasons, we see no merit to any of these

       challenges.

       A. Collection Letter Class

¶ 15         We must first determine whether the trial court erred in certifying the

       Collection Letter Class. Blue Ridge contends that the trial court erred in certifying
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       this class for three reasons: (1) class qualification focuses on whether the class

       members were “sent” a collection letter, rather than whether they “received” the

       letter; (2) class certification is improper when liability depends on how a class

       member reacted to the letter; and (3) actual and statutory damages available to the

       class cannot be shown by a class-wide theory of generalized proof. We address each

       argument in turn.

¶ 16         First, Blue Ridge argues that the trial court erred in defining the Collection

       Letter Class as those tenants who were “sent” the collection letter, as opposed to those

       who “received” the collection letter. This distinction is significant, Blue Ridge argues,

       because any alleged common injury proximately caused by the collection letter would

       first depend on whether the tenant actually received the letter.

¶ 17         We disagree. The trial court acted within its broad discretion in inferring that

       for the purpose of certifying this class, a letter sent was a letter received. See Parnell-

       Martin Supply Co. v. High Point Motor Lodge, Inc., 277 N.C. 312, 320–21, (1970)

       (holding that a stipulation that a notice letter was sent established prima facie that

       the notice was received). Ample evidence supports this inference. For instance: Blue

       Ridge has admitted that the collection letters were indeed sent; Blue Ridge has not

       identified any evidence tending to rebut the corresponding inference that the letters

       were received; Blue Ridge stipulated that “the number of individuals who received

       the [collection letters] are so numerous as to make it impracticable to bring them all
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       before the Court” (emphasis added); and the trial court found that the named

       plaintiffs had, in fact, “received” collection letters. This inference of receipt is further

       strengthened by the testimony of a Blue Ridge employee and witness that collection

       letters were not delivered by mail, but by direct email or hand-delivery to each

       tenant’s door. Accordingly, for the purpose of our review, drawing this inference from

       the uncontroverted testimony and stipulations was well within the broad discretion

       of the trial court.

¶ 18          Second, Blue Ridge argues that the Collection Letter Class certification is

       improper because liability depends not only on whether each class member received

       the letter, but also on how each class member reacted to the letter. For instance, Blue

       Ridge argues, if a collection letter recipient did not read the letter, did not understand

       the letter, or was in such an unfortunate financial position that he or she could not

       adjust their financial decisions based on the letter, then the letter would not

       proximately cause an injury, thus undermining the commonality of the class.

¶ 19          Third and relatedly, Blue Ridge asserts that the Collection Letter Class

       certification was erroneous because actual and statutory damages available to the

       class cannot be shown by a class-wide theory of generalized proof, as required for

       class certification. Based on the subjective reaction argument noted above, Blue Ridge

       argues that any actual damages suffered by class members because of a collection

       letter are unique to each member, and therefore not susceptible to a class-wide theory
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       of generalized proof. Likewise, Blue Ridge contends that the statutory damages

       sought by plaintiffs under the NCDCA are not susceptible to a class-wide theory of

       generalized proof because the amount will vary based on the nature and extent of

       each class member’s injury, and the court lacks objective criteria with which to

       calculate such damages. Accordingly, Blue Ridge argues that class certification here

       is improper.

¶ 20         These arguments mischaracterize the true nature of the alleged injury here,

       which is not grounded in an individualized subjective reaction and injury, but in a

       class-wide deprivation of statutory rights under the NCRRAA and NCDCA. As this

       Court recently noted in Comm. to Elect Dan Forest v. Emps Pol. Action Comm.:

                      [O]ur courts have recognized the broad authority of the
                      legislature to create causes of action, such as ‘citizen-suits’
                      and ‘private attorney general actions,’ even where
                      personal, factual injury did not previously exist, in order to
                      vindicate the public interest. In such cases, the relevant
                      questions are only whether the plaintiff has shown a
                      relevant statute confers a cause of action and whether the
                      plaintiff satisfies the requirements to bring a claim under
                      the statute. . . . The existence of the legal right is enough.

       376 N.C. 558, 2021-NCSC-6, ¶ 71. Later, in his concurring opinion, Chief Justice

       Newby specifically noted the NCDCA as an example of a statute that “provid[es] for

       specified statutory damages without requiring the plaintiff to prove actual injury.”

       Id. ¶ 96 (Newby, C.J., concurring).

¶ 21         Plaintiffs here allege precisely the type of injury contemplated by this Court in
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       Forest above: one that depends not on individualized harm, but on an informational

       injury and a deprivation of statutory rights. Id. ¶ 71; see N.C.G.S. § 75-56(b) (2021)

       (“Any debt collector who fails to comply with any provision of this Article with respect

       to any person is liable to such person in a private action . . . .”). As a result, the

       collection letters need not have caused each class member a personal, factual injury

       based on his or her subjective reaction to it, but only an informational injury based

       on alleged misrepresentations and misleading information contained in the letters,

       in violation of the statute.

¶ 22          Similarly, regarding damages, although different members of the class could

       indeed end up with different damages based on individual circumstances, these

       differences do not undermine the availability of a class-wide theory of generalized

       liability. Here, Blue Ridge stipulated that it “had a general policy to send templated

       written communications” to its tenants in forms “substantially similar” to the ones

       produced for this litigation. These admittedly uniform procedures pertained to the

       collection letters, eviction fees, and complaint-filing fees at issue here. At this

       preliminary stage where the only question regards the appropriateness of class

       certification, not the merits of plaintiffs’ claims or extent of plaintiffs’ damages, the

       uniformity of Blue Ridge’s procedures establishes a sufficiently generalized theory of

       alleged injury. Accordingly, the trial court acted within its broad discretion in finding

       that “common issues of fact and law are both central for all class members and are
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       susceptible to class-wide proof.”

¶ 23         Therefore, we conclude that the trial court did not abuse its discretion in

       certifying the Collection Letter Class.

       B. Eviction Fee Class and Complaint-Filing Fee Class

¶ 24         We must next determine whether the trial court erred in certifying the Eviction

       Fee Class and Complaint-Filing Fee Class, as defined above. Blue Ridge argues that

       findings of fact numbered 11 through 16 (quoted above) are insufficient to support

       the trial court’s subsequent legal conclusions that “common issues of fact and law

       predominate over any individual issues” and that “[t]he common issues of fact and

       law are both central for all class members and are susceptible to class-wide proof.”

       Further, Blue Ridge argues that the inadequacy of these findings prevents this Court

       from engaging in meaningful appellate review.

¶ 25         For support, Blue Ridge points to Nobles v. First Carolina Commc’ns, Inc., 108

       N.C. App. 127 (1992), and Elam v. William Douglas Mgmt., Inc., No. COA14-1377,

       2015 WL 2374524 (N.C. Ct. App. May 19, 2015) (unpublished). In Nobles, the trial

       court summarily denied the plaintiffs’ class certification motion without “specify[ing]

       which elements were lacking and [with] no other findings.” 108 N.C. App. at 132. The

       Court of Appeals subsequently deemed the trial court’s findings “inadequate to enable

       [the Court of Appeals] to determine whether the [trial] court’s decision was based on

       competent evidence.” Id. at 132–33. In Elam, the trial court provided five relatively
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       succinct findings of fact regarding the inferiority of a class action in comparison to

       alternative methods of adjudication, and thus denied plaintiffs’ motion for class

       certification. 2015 WL 2374524 at *2. On appeal, the Court of Appeals found these

       findings of fact sufficient. Id. at *5.

¶ 26          Here, Blue Ridge asserts that—similarly to Nobles and in contrast to Elam—

       the trial court did not make sufficiently detailed findings of fact. Blue Ridge notes

       that the trial court’s class certification order included only six relatively cursory

       findings of fact (quoted above) detailing Blue Ridge’s uniform procedures for sending

       defaulting tenants collection letters and assessing eviction fees and complaint-filing

       fees. These findings, Blue Ridge argues, are insufficiently detailed to support the trial

       court’s subsequent conclusions of law regarding the existence of the three classes and

       to allow this Court the opportunity for meaningful appellate review.

¶ 27          We agree the trial court’s findings of fact are relatively succinct; but succinct

       does not necessarily mean inadequate. The trial court’s findings of fact plainly

       describe Blue Ridge’s procedures at issue, note the uniformity of their application,

       and establish that they were deployed on plaintiffs. Notably, Blue Ridge does not

       challenge the factual findings, and the subsequent conclusions of law are specifically

       tailored to reflect the practices described. Comparatively, these findings of fact are

       more extensive than those found inadequate in Nobles, and are far more comparable
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       to—and perhaps even more detailed than—those found adequate in Elam.1 While

       there is no bright line establishing a minimum number of factual findings or a

       minimum level of detail that will be deemed adequate, we cannot conclude that the

       facts here are insufficient to support the trial court’s subsequent legal determinations

       that “common issues of fact and law predominate over any individual issues” and that

       “[t]he common issues of fact and law are both central for all class members and are

       susceptible to class-wide proof.” For the same reasons, we cannot find that the trial

       court’s findings of fact are so deficient as to preclude this Court from engaging in

       meaningful appellate review.

¶ 28          In fact, the trial court’s succinctness here acts to support class certification

       rather than to undermine it; that is, because Blue Ridge’s procedures regarding the

       collection letters, eviction fees, and complaint-filing fees were admittedly uniform for

       all defaulting tenants, more detailed, tenant-specific factual findings are rendered

       unnecessary. Indeed, as noted within the trial court’s findings of fact, Blue Ridge’s

       own General Collection Guidelines require, among other things, that its employees

       “must treat everyone consistently” and that “[a]ll residents in the same situation

       must be treated the same.” The trial court’s findings of fact reflect this consistency.

¶ 29          Accordingly, we hold that the trial court did not abuse its discretion in




              1 Notably, Elam is an unpublished decision which does not constitute controlling legal

       authority.
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       certifying the Eviction Fee Class and the Complaint-Filing Fee Class.

       C. Superiority Determination

¶ 30         We must last determine whether the trial court erred in its determination that

       a class action is superior to other available methods of adjudication.

¶ 31         As noted above, after a party seeking class certification satisfies the

       prerequisites, the trial court must determine, in its discretion, “whether a class action

       is superior to other available methods for the adjudication of th[e] controversy….’”

       Crow, 319 N.C. at 284.

                    Class actions should be permitted where they are likely to
                    serve useful purposes such as preventing a multiplicity of
                    suits or inconsistent results. The usefulness of the class
                    action device must be balanced, however, against
                    inefficiency or other drawbacks. . . . [T]he trial court has
                    broad discretion in this regard and is not limited to
                    consideration of matters expressly set forth in Rule 23 or
                    in [existing caselaw].

       Id. Accordingly, superiority determinations are reviewed for abuse of discretion. See

       Fisher, 369 N.C. at 209.

¶ 32         Here, the trial court stated the following:

                           28. The Court finds that here a class action is
                    superior to all other available methods of adjudicating the
                    controversy. There are relatively few evidentiary issues for
                    the Court to decide and that, once decided, can be applied
                    to the classes. If this action were not allowed to proceed as
                    a class action, the same legal issues could be relitigated in
                    potentially hundreds of individual cases in different courts
                    throughout North Carolina, which could lead to
                    inconsistent decisions. The benefits of litigating this case
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                    as a class action overrides any drawbacks. Statutory
                    damages in this case can be determined using objective
                    criteria that is applicable class-wide, and the issues
                    identified by Blue Ridge concerning ascertaining class
                    members’ identities can be determined administratively.
                    Further, potential statutory damages are not out of
                    proportion to the harm caused. Lastly, Plaintiffs affirmed
                    at the hearing that they are not seeking emotional distress
                    damages or punitive damages.

¶ 33         Blue Ridge challenges three conclusions within this determination: (1) that

       statutory damages can be measured using objective, class-wide criteria; (2) that

       identifying class members can be done through administrative means; and (3) that

       class certification is preferrable when, as here, plaintiffs seek both statutory damages

       and attorneys’ fees. We again see no error, and address each in turn below.

¶ 34         First, the trial court did not abuse its discretion in determining that statutory

       damages can be measured using objective, class-wide criteria. As noted above, when

       a statute creates a cause of action independent from a personal, factual, injury, “the

       relevant questions are only whether the plaintiff has shown a relevant statute confers

       a cause of action and whether the plaintiff satisfies the requirements to bring a claim

       under the statute.” Comm. To Elect Dan Forest, 2021-NCSC-6, ¶ 72. The NCDCA is

       one such statute. See id. ¶ 96 (Newby, C.J., concurring). Accordingly, statutory

       damages here could be determined based on the generalized theory of alleged class-

       wide informational injuries and deprivation of statutory rights under the NCDCA.

¶ 35         Second, we cannot agree that the trial court acted unreasonably in concluding
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       that the identification of class members could be completed administratively and did

       not pose a significant impediment to class certification. Notably, class-member

       identification is only one of many factors that a trial court may consider within a

       superiority determination. See Crow, 319 N.C. at 284 (“[T]he trial court has broad

       discretion in this regard and is not limited to consideration of matters expressly set

       forth in Rule 23 or in [existing caselaw].”).

¶ 36         Here, based on the record before the trial court, the court had competent

       evidence that Blue Ridge produced ledgers of tenants that specifically identified those

       who were charged and paid eviction fees. Further, administrative class-member

       identification is supported by the precision with which the classes are defined

       (including use of the applicable date ranges and whether tenants were charged or

       “actually paid” the applicable fees) and the admitted uniformity with which Blue

       Ridge administered the letters and fees at issue. Although the trial court did not

       specify a method for class-member identification in its findings of fact, this does not

       amount to an abuse of discretion when it had competent evidence on which to base

       its conclusion that class-member identification could indeed be completed

       administratively.

¶ 37         Third, we are not persuaded by Blue Ridge’s claim that the trial court erred in

       its superiority determination because class certification is not preferred when, as

       here, the classes seek both statutory damages and attorneys’ fees. While statutory
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       damages and attorneys’ fees are among the many factors that a trial court may

       consider within a class action superiority determination, neither dispositively

       renders a certain cause of action per se unsuitable for class certification. See Beroth

       Oil Co., 367 N.C. at 344 (“We generally agree that differences in the amount of

       damages will not preclude class certification so long as the [common] issue

       predominates”) (cleaned up). Instead, the question is whether the calculation of

       damages is “not merely a collateral issue,” but is so “inextricably tied” to the common,

       class-wide issue that it “is determinative of the [common] issue itself.” Id. In such

       cases, differing statutory damages or attorneys’ fees between class members may

       render the class action form inapt. See id.
¶ 38         Here, however, there is no indication, and Blue Ridge presents no argument,

       that differences in damages and fees are so inextricably tied to the alleged class-wide

       injury under the NCRRAA and NCDCA as to render the class action form inferior to

       other methods of adjudication. In fact, the trial court’s superiority determination

       includes numerous findings to the contrary, including that there were “relatively few

       evidentiary issues”; that class certification would avoid “the same legal issues [being]

       relitigated in potentially hundreds of individual cases in different courts throughout

       North Carolina, which could lead to inconsistent decisions”; and that “[t]he benefits

       of litigating this case as a class action overrides any drawbacks.” Accordingly, the

       trial court did not abuse its broad discretion in certifying the classes here despite
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       potential collateral differences in damages and fees.

                                       IV.    Conclusion

¶ 39         A trial court enjoys broad discretion in class certification, and honoring that

       discretion is the “touchstone” of appellate review of class certification orders. Here,

       we hold that the trial court did not abuse its discretion in certifying the Collection

       Letter Class, Eviction Fee Class, and Complaint-Filing Fee Class for a class action

       lawsuit. Accordingly, we affirm the trial court’s class certification order and remand

       for further proceedings not inconsistent with this opinion.

             AFFIRMED.
